944 F.2d 900
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Rodgers BURNLEY, Petitioner-Appellant,v.Edward W. MURRAY, Respondent-Appellee.
    No. 91-6596.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 1, 1991.Decided Sept. 23, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   David G. Lowe, United States Magistrate Judge.  (CA-91-205-R)
      John Rodgers Burnley, appellant pro se.
      Richard Bain Smith, Assistant Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      John Rodgers Burnley seeks to appeal the magistrate judge's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254.*  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.   Burnley v. Murray, CA-91-205-R (E.D.Va., Jun. 6, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         The parties consented to the magistrate judge's jurisdiction pursuant to 28 U.S.C. § 636(c)(2)
      
    
    